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6

7

8                                IN THE UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF CALIFORNIA
9

10

11   UNITED STATES OF AMERICA,                            CASE NO.: 4:21-CR-00429-YGR

12                                 Plaintiff,             RAY J. GARCIA’S MOTION FOR NEW TRIAL;
                                                          SUPPORTING MEMORANDUM OF POINTS AND
13                          v.                            AUTHORITIES; SUPPORTING DECLARATION
                                                          AND EXHIBITS
14   RAY J. GARCIA,                                       [F.R.Cr.P. 33; Criminal Local Rule 47-2]
15                                 Defendant.             Hearing: March 15, 2023
                                                          Time: 2:00 p.m.
16                                                        Courtroom: 1, 4th Floor
                                                          Oakland Federal Courthouse
17                                                        1301 Clay Street, Oakland, CA 94612

18
     TO THE HONORABLE COURT:
19
            Defendant Ray Garcia, through his undersigned counsel and in accordance with Federal Rule of
20
     Criminal Procedure 33 and Northern District Criminal Local Rule 47-2, hereby makes this motion for a
21
     new trial. This motion will be heard on March 15, 2023 at 2:00 p.m., or as soon thereafter as this matter
22
     may be heard, in the Oakland Federal Courthouse, located at 1301 Clay Street, Oakland, California
23
     94612, in Courtroom 1, on the 4th Floor. This motion will be based on the within memorandum of
24
     points and authorities, the accompanying declarations and exhibits, and any other evidence or argument
25
     that may be presented before this motion is submitted for decision, as well as the Court’s record of this
26
     proceeding.
27
            This motion seeks a new trial on three independent grounds: (1) there was juror misconduct
28
     during deliberations that resulted in extrajudicial matters being considered by the jury, which resulted in

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 1   a violation of the defendant’s rights to confrontation, a fair trial and due process; (2) defense counsel

 2   was impaired by a conflict of interest, which resulted in a denial of counsel and a structural error that

 3   requires a new trial; and (3) the defendant was denied his right to an unbiased judicial officer, which

 4   also constitutes a structural error requiring a new trial.

 5             The defendant provides a proposed order reflecting the relief requested in his motion, as required

 6   by Northern District Criminal Local Rule 47-2, which incorporated Northern District Civil Local Rule

 7   7.2(c).

 8                              MEMORANDUM OF POINTS AND AUTHORITIES

 9       I.        Procedural Background

10             A criminal complaint was filed initiating these proceedings on September 24, 2021. DN 1. The

11 original indictment was filed on November 2, 2021, charging the defendant with two counts of sexual

12 abuse of a ward, in violation of 18 U.S.C. § 2243(b). DN 13.

13             On June 13, 2022, the Court set a November 30, 2022 trial date. DN 38.

14             On July 5, 2022, the trial date was advanced to November 28, 2022. DN 39.

15             On August 23, 2022, a Superseding Indictment was filed adding six additional counts: Count III,

16 alleging a violation of 18 U.S.C. § 2244(a)(4); Count IV, alleging a violation of 1`8 U.S.C. § 2243(b);

17 Count V, alleging a violation of 18 U.S.C. § 2244(a)(4); Count VI, alleging a violation of 18 U.S.C. §

18 2244(a)(4); Count VII, alleging a violation of 18 U.S.C. § 2244(a)(4); and Count VIII, alleging a

19 violation of 18 U.S.C. § 1001(a)(2). DN 40.

20             On November 8, 2022, trial was advanced to November 21, 2022. DN 71.

21             At the conclusion of trial, on December 8, 2022, the defendant was found guilty as to all counts

22 of the Superseding Indictment. DN 111.

23             On December 13, 2022, the Court approved the substitution of the undersigned counsel for the

24 defendant’s trial counsel, James T. Reilly of Summit Defense. DN 117.

25             The Court ordered the current post-trial briefing and sentencing briefing schedule on December

26 19, 2022. DN 125.

27       II.      Standard of Review

28       Federal Rule of Criminal Procedure 33 provides as follows:

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1
               (a) Defendant's Motion. Upon the defendant's motion, the court may vacate any judgment
2              and grant a new trial if the interest of justice so requires. If the case was tried without a
3              jury, the court may take additional testimony and enter a new judgment.

4              (b) Time to File.

5              (1) Newly Discovered Evidence. Any motion for a new trial grounded on newly
               discovered evidence must be filed within 3 years after the verdict or finding of guilty. If
6
               an appeal is pending, the court may not grant a motion for a new trial until the appellate
7              court remands the case.

8              (2) Other Grounds. Any motion for a new trial grounded on any reason other than newly
               discovered evidence must be filed within 14 days after the verdict or finding of guilty.
9
               Federal Rule of Criminal Procedure 33 allows a court to "vacate any judgment and grant a new
10
     trial if the interest of justice so requires." Fed. R. Crim. P. 33(a). The burden of justifying a new trial
11
     rests with the defendant. See United States v. Shaffer, 789 F.2d 682, 687 (9th Cir. 1986). The decision to
12
     grant a new trial is within the sound discretion of the trial court. See United States v. Love, 535 F.2d
13
     1152, 1157 (9th Cir. 1976), cert. denied, 429 U.S. 847 (1976).
14
        III.        Argument
15
               A.     The Verdict is Tainted by Prejudicial Juror Misconduct
16
               Shortly after the jury’s verdict, the foreman, Simeon Meyer, submitted to an interview with a
17
     reporter from a television news station. In that interview, Mr. Meyer not only revealed that extrinsic
18
     matters were discussed and considered during deliberations, but also indicated that they helped the jury
19
     reach unanimous verdicts. A defendant in a criminal case is entitled to a jury that reaches a verdict only
20
     on the basis of evidence produced at trial. Turner v. Louisiana, 379 U.S. 466 (1965); Estrada v. Scribner,
21
     512 F.3d 1227, 1238 (9th Cir. 2008); Raley v. Ylst, 470 F.3d 792, 803 (9th Cir. 2006). When the jury
22
     considers extraneous or extrinsic facts not introduced in evidence, a defendant has effectively lost his
23
     Sixth Amendment rights of confrontation, cross-examination, and the assistance of counsel with regard to
24
     jury consideration of the extraneous evidence. Lawson v. Borg, 60 F.3d 608, 612 (9th Cir. 1995).
25
               Specifically, Mr. Meyer told the reporter that he was “moved by [the female jurors’] stories as
26
     mothers and daughters” See Exhibit A, KTVU news article, Dublin Prison Warden Sex Abuse Trial: How
27
     the Jury Came to its Guilty Verdict, published December 9, 2022, page 2. Myer further stated that “an
28
     elderly female juror brought her own personal stories as ‘touching examples of humanity.’” Id. Mr. Meyer
      MOTION FOR NEW TRIAL, ETC.                             3
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 1   also stated that there was an initial division in the jury. Id. at p. 3. A new trial is required where, as here,

 2   "a reasonable possibility that the extrinsic material could have affected the verdict." United States v. Mills,

 3   280 F.3d 915, 921 (9th Cir. 2002).

 4          At minimum, an evidentiary hearing is required. When presented with an allegation of juror

 5   misconduct, a trial court should ordinarily hold an evidentiary hearing to hear admissible juror testimony

 6   and determine the precise nature of the extraneous information. United States v. Ruiz Montes, 628 F.3d

 7   1183, 1186 (9th Cir. 2011). An evidentiary hearing is required unless the court is able to determine

 8   without a hearing that the allegations if true would not warrant a new trial. United States v. Navarro–

 9   Garcia, 926 F.2d 818, 822 (9th Cir. 1991). A news article that reveals potential misconduct, rather than

10 deliberation information barred by Federal Rule of Evidence 606(b),1 may be considered in assessing

11 juror misconduct. See United States v. Febus, 218 F.3d 784, 795 (7th Cir. 1999)(refusing to consider

12 news article because it concerned the jurors’ deliberations and did not suggest extraneous influences);

13 United States v. Gurry, 427 F.Supp.3d 166, 176 n. 1 (D. Mass. 2019) (same); United States v. Tin Yat

14 Chin, 275 F.Supp.2d 382, 384 (E.D. N.Y. 2003)(considering article, but finding no proof of
15 misconduct).

16          Exhibit A is currently the only available evidence suggesting juror misconduct, but defendant

17 submits that is alone sufficient to warrant an evidentiary hearing. None of the jurors agreed to be

18 interviewed voluntarily, and KTVU destroyed the raw footage of Mr. Meyer’s post-verdict interview.

19 See Declaration of Kevin G. Little, ¶¶ 3-4; Exhibit B, KTVU Certification of Destruction of Records.

20          B. Because Trial Counsel Was Plagued by An Actual Conflict of Interest Prejudice is Presumed

21          Trial counsel called one witness, the defendant himself. Counsel presented two exhibits, one

22 provided by the defendant himself during trial and a diagram of FCI Dublin he received in discovery

23 from the prosecution. See Exhibit C, Declaration of Ray J. Garcia, ¶ 10. Counsel did not identify any
24 witnesses or exhibits by the deadlines set by the Court. Id., ¶ 4. Counsel did not follow up with any of

25 the witnesses identified by the defendant in a sufficient time and manner to permit them to testify at

26 trial, although they had important knowledge that did not otherwise make it into the trial record. Id., ¶¶

27
            1
28             Rule 606(b) excludes evidence pertaining only to the jury’s deliberative process, but not proof
     of the jury’s access to extraneous prejudicial information.
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 1   3, 8; Exhibit D, Declaration of Daniel Flint, ¶¶ 3-9. Trial counsel did not even meet with the defendant

 2   to prepare him to testify, instead sending him a hastily composed e-mail in the wee hours of the morning

 3   the same day the defendant was scheduled to testify. See Exhibit C, ¶ 7. Trial counsel never sent the

 4   prosecution any discovery request. Id., ¶ 3. Trial counsel never met with the defendant to review the

 5   discovery, including any information that had been extracted from his electronic devices. Id.., ¶ 5. Trial

 6   counsel only met with the defendant relatively briefly before, during or after court proceedings in the

 7   courthouse. Id., ¶ 6.

 8          There was a clear explanation for trial counsel’s inaction and lack of preparation: the less he did,

 9   the more he and his firm made. Defense counsel’s flat fee trial retainer provided for the same pay no

10 matter how hard or not so hard he worked. See Exhibits E and F, Defendant’s Retainer Agreements with

11 Summit Defense. The facts at hand show that, at least in this instance, the flat fee financial arrangement

12 trial counsel had provided a perverse incentive and created an actual conflict of interest.

13          The Sixth Amendment right to counsel includes a correlative right to representation free from

14 conflicts of interest. Wood v. Georgia, 450 U.S. 261, 271 (1981). When there is proof of an actual
15 conflict of interest that adversely impacted trial counsel’s performance, prejudice is presumed and a new

16 trial is required. Cuyler v. Sullivan, 446 U.S. 335, 348-350 (1980). “Under Supreme Court precedent,

17 [a defendant] needs only to meet the lower standard of showing that the `attorney's behavior seem[ed] to

18 have been influenced' by the conflict." Lockhart v. Terhune, 250 F.3d 1223, 1231 (9th Cir. 2001)

19          Regarding the conflict issue with his trial attorney, once the defendant has proved (1) an actual

20 conflict, and (2) a negative effect upon the representation, prejudice is presumed and a probable effect

21 on the outcome of the trial need not be shown. Cuyler v. Sullivan, 446 U.S. at 350 (1980); Mickens v.

22 Taylor, 535 U.S. 162, 172 (2002). To show an “adverse effect,” the defendant need only show that

23 “some effect on counsel’s handling of particular aspects of the trial was likely.” United States v. Walter-
24 Eze, 869 F.3d 891, 901 (9th Cir. 2017). It is enough to show that as a likely result of the conflict,

25 “counsel failed to put on certain defenses and witnesses…[or] failed to explore the possibility of a plea

26 agreement.” Id. Moreover, because prejudice need not be shown, “the strength of the prosecution’s case

27 is not relevant to whether counsel’s performance was adversely affected.” Id.

28          The defendant recognizes that in this Circuit claims of ineffective assistance of counsel normally

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             Case 4:21-cr-00429-YGR Document 135 Filed 02/02/23 Page 6 of 38



 1   must be raised in a motion under 28 U.S.C. § 2255. See United States v. Hanoum, 33 F.3d 1128, 1130-

 2   31 (9th Cir. 1994); United States v. Ross, 206 F.3d 896, 900 (9th Cir. 2000). However, Hanoum did not

 3   foreclose the granting of a new trial on Cuyler grounds where, as here the record permits a determination

 4   within the parameters of a new trial motion. See United States v. McKenna, 327 F.3d 830, 845 (9th Cir.

 5   2003); United States. v. Jeronimo, 398 F.3d 1149, 1155 (9th Cir. 2005) (holding that deferring IAC

 6   claims until collateral review is just a general rule).

 7           Accordingly, because the obvious record of trial counsel’s failures is so suggestive of his conflict

 8   of interest, the defendant is entitled to a new trial. At minimum, a hearing should be held if any further

 9   record development or disputed facts arise before the hearing.

10           C.      The Record is Replete With Perceptible Microaggressions Demonstrating Implicit Bias

11           Jurors tend to be significantly predisposed against defendants charged with sexual offenses,

12 making it more difficult for them to receive fair trials. Cf. Coy v. Iowa, 487 U.S. 1012, 1020-1021

13 (1988). In this case, that recognized dynamic was compounded by subtle, yet perceptible expressions of

14 implicit bias, in the form of perceptible microaggressions against the defendant and his counsel at the
15 outset of the defendant’s testimony. While the Court was more than pleasant with jurors and prosecution

16 witnesses, it became obvious once the defense case began that similar accommodations would not be

17 extended.

18           As one of many examples, at the outset of the testimonies of other witnesses, the Court politely

19 asked if testifying persons were comfortable removing their masks. See RT 572:5-7 and 1245:24-

20 1246:4. However, Mr. Garcia was told, “take off that mask so the parties -- or the jury can see your

21 face.” RT 881:9-10. This was also immediately after the Court stated in front of the jury, “Let’s get

22 going. I’m not wasting time… On the stand.” RT 880:24-881:1. The Court also made unnecessarily

23 critical remarks early in the defendant’s testimony, in front of the jury. See RT 899:19-21 (“Mr. Reilly,
24 we need to hear it from him. I know you've got a plan in place, but I want the words from him, not

25 you.”). Additional examples are contained in the compendium attached hereto as Exhibit G.

26           It is now well established that hostility and favoritism can be expressed in the form of

27 microaggressions or microaffirmations. See R. Rini, The Ethics of Microaggression, (Routledge 2021).

28 While implicit and likely unintentional, the obvious difference in the treatment of the defendant via á vis

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 1   the other trial participants very probably made the defendant’s disfavored status clear.

 2          “A fair trial in a fair tribunal is a basic requirement of due process.” In re Murchison, 349 U.S.

 3   133, 136 (1955). Indeed, the “legitimacy of the Judicial Branch ultimately depends on its reputation for

 4   impartiality and nonpartisanship.” Mistretta v. United States, 488 U.S. 361, 407 (1989). “The Court asks

 5   not whether the judge is actually, subjectively biased, but whether the average judge in his position is

 6   likely to be neutral, or whether there is an unconstitutional potential for bias.” Caperton v. A.T. Massey

 7   Coal Co., 556 U.S. 868, 873 (2009). A claimant need not prove actual bias to make out a due process

 8   violation. Johnson v. Mississippi, 403 U.S. 212, 215 (1971). A reviewing court may order a new trial if

 9   the records establishes “an abiding impression that the judge's remarks and questioning of witnesses

10 projected to the jury an appearance of advocacy or partiality." United States v. Mostella, 802 F.2d 358,

11 361 (9th Cir. 1986); United States v. Morgan, 376 F.3d 1002, 1006-1007 (9th Cir. 2004)

12          Because judicial bias constitutes a structural error, a new trial is further warranted.

13          For all these reasons, the defendant submits he is entitled to a new trial.

14    Dated: February 2, 2023                                 /s/ Kevin G. Little
                                                              Kevin G. Little
15
                                                              Counsel for Defendant
16                                                            Ray J. Garcia

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      MOTION FOR NEW TRIAL, ETC.                          7
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1                                       Declaration of Kevin G. Little

2         The undersigned, Kevin G. Little, hereby declares as follows:

3           1.     I am the attorney of record for the defendant, Ray J. Garcia, having been approved to

4    substitute for former counsel James T. Reilly on December 13, 2022.

5           2.    Attached are true and correct copies of the following exhibits: A - KTVU news article,

6    Dublin Prison Warden Sex Abuse Trial: How the Jury Came to its Guilty Verdict, published December

7    9, 2022; B – KTVU Certification of Destruction of Records; C- Declaration of Ray Garcia; D –

8    Declaration of Daniel Flint; E – Defendant’s Pre-Filing Retainer with Summit Defense; F – Defendant’s

9    Trial Retainer with Summit Defense; G – Compendium of Record Comments During the Testimony of

10   Defendant.

11          3.    My staff and I attempted to contact the trial jurors and interview them, and we were

12   unable to interview any jurors.

13          4.    If called as a witness in this matter, I could truthfully and competently testify to the

14   foregoing.

15          Sworn under penalty of perjury under the laws of the United States on February 2, 2023, in

16   Fresno, California.

17
                                                                 /s/ Kevin G. Little
18                                                               Kevin G. Little
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     MOTION FOR NEW TRIAL, ETC.                         8
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           EXHIBIT A
12/19/22, 6:07 PM   Case 4:21-cr-00429-YGR       Document
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                                                                abuse trial: How 02/02/23
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                                                                                                              Watch Live




Dublin prison warden sex abuse trial: How the jury
came to its guilty verdict
By Lisa Fernandez | Published December 9, 2022 | Updated 12:21PM | Dublin prison | KTVU FOX 2 |


   Ex-warden of Bay Area women's prison convicted of sex abuse
   Ray Garcia, the former warden of the federal women's prison in Dublin, was
   convicted of eight counts of sexual abuse and lying to the FBI. Women held in the
   prison testified that Garcia fondled them, took nude photos and other acts of
   misconduct.



   OAKLAND, Calif. - A jury of 10 men and two women found Ray J. Garcia – the
   former warden of the all-women's Federal Correctional Institute at Dublin – guilty
   of eight counts of sex abuse and lying to the FBI.

   Garcia is the highest ranking U.S. Bureau of Prisons official to be convicted of
   such crimes, according to the Department of Justice.

   The trial, held in U.S. District Court in Oakland, lasted seven days. The jury
   deliberated for about 14 hours over three days.

   In an exclusive interview, Simeon Meyer of San Francisco – the jury foreman –
   shared his opinions on the case and broke down how he and his peers came to
   their decision on Thursday just before noon.


   Who was on the jury?
   At first, Meyer said he didn't even notice there was a preponderance of men on
   the jury.


https://www.ktvu.com/news/fci-dublin-warden-sex-abuse-trial-how-the-jury-came-to-its-guilty-verdict                        1/7
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   It wasn't until one of the two female jurors spoke up about the gender inequity
   that made him realize how "odd" it was.

   Looking back, Meyer said he wished there had been more women on the panel,
   as he was moved by their stories as mothers and daughters.

   Meyer is the controller for the Chalet Restaurant Group. He said some of the
   other jurors are chemists, accountants, corporate executives and tech
   employees. One juror is a newly documented citizen.

   Each brought a unique perspective to the case, Meyer said, and often used their
   careers as the basis to forming their opinions.

   For instance, a female corporate executive noticed how broken the federal prison
   system is from a business perspective.

   An elderly female juror brought her own personal stories and "touching examples
   of humanity," Meyer said.


   Ex-FCI Dublin prison warden dodges questions on sex abuse allegations
   Former FCI Dublin prison warden Ray Garcia dodged questions from KTVU's Evan
   Sernoffsky while leaving court.



   What did you think of Ray Garcia?
   Meyer said he thought the former warden was "arrogant" and full of "hubris." He
   said none of the jury believed the inconsistencies in his stories and he could tell
   that this was a classic "abuse of power" case.

   One comment that Garcia made stood out to Meyer and the rest of the jurors
   that seemed especially out of line.


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   "I have plenty of pictures I can use for arousal of free women I can see any day of
   the week," Garcia said angrily under cross-examination. "I do not need a picture
   of an inmate to arouse me."

   The reason the jury deliberated over three days, Meyer said, because at first,
   there were two male "holdouts."

   Everyone else thought Garcia was guilty at the start of deliberations. But the two
   men were only about "80 to 90%" there on the first day, Meyer said.

   Those two wanted to methodically go through the counts to make sure that
   Garcia actually digitally penetrated one of the victims, Melissa, in the bathroom –
   as opposed to some of the other counts, which alleged a more general, "abusive
   sexual contact."

   "Two people needed to be convinced on the sexual act charge vs. the sexual
   contact charge," Meyer said. "We needed to come together to really discuss it."

   One of those jurors - a new citizen to the United States -- also wanted to weigh
   Garcia's long, 30-year career with the BOP as a factor in his decision.

   In the end, though, Meyer said these two jurors playing devil's advocates just
   made for a more thorough deliberation.


   What did you think of the women who testified?
   Meyer said the women were completely believable, and even though Garcia's
   defense painted them as convicted felons with reasons to lie, that thought never
   crossed the jury's mind.

   The jury believed that the women who testified had all been sexually assaulted
   and they were moved by the stories the women told of being retaliated against
   for speaking out.
https://www.ktvu.com/news/fci-dublin-warden-sex-abuse-trial-how-the-jury-came-to-its-guilty-verdict                    3/7
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   Meyer said Melissa, the first witness, was especially compelling as she told of how
   Garcia instructed her to get naked on all fours on a friend's bed and then insert a
   candy cane into her vagina.

   She then teared up telling the jury how her life inside prison has been hell since
   coming forward with her story.

   A young male juror and an Indian woman kept asking their peers: What
   motivation would Melissa and the others have to lie?


   How did you feel looking at so many explicit photos?
   Attorneys told the jury that Garcia has "hundreds" of photos of his penis – at least
   one with semen coming out – on his prison-issued cell phone.

   There were also naked photos of Melissa on all fours in a cell room, and
   screenshots of a victim named Rachel during a naked video chat with Garcia that
   she didn't know were being taken.

   Meyer said that the jury was only shown two of the warden's penis photos and
   the naked pictures of Melissa and Rachel.

   "We definitely saw dick pics," he said.

   Only the jury was shown these pictures and no one in the gallery was allowed to
   see them to protect the women's dignity. Meyer said the jury was not shown the
   semen photo.

   While Meyer said seeing these pictures was important, he didn't like seeing them
   up for so long on the computer in his jury box.

   He said he got uncomfortable and had to put a notebook up to block the view at
   times.
https://www.ktvu.com/news/fci-dublin-warden-sex-abuse-trial-how-the-jury-came-to-its-guilty-verdict                    4/7
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   No one giggled over the photos in deliberations, Meyer said, adding that everyone
   acted seriously while discussing them.


   Powerless in Prison: Surviving Sex Abuse
   Over the course of eight months, KTVU has spoken with more than three dozen
   women who say they have been sexually assaulted or witnessed such abuse at
   FCI Dublin. Many who spoke up were retaliated against.



   What did you think of the prosecution's star rebuttal
   witness?
   During trial, several women and the prison psychologist testified that Garcia often
   bragged he wouldn't be investigated because the head of the Special Investigative
   Services – Lt. Stephen Putnam – was his best friend of 23 years.

   So when Putnam was called to testify as the prosecution's rebuttal witness, Meyer
   said he expected Putnam to vouch for Garcia.

   That didn't happen.

   "We thought him to be a buddy and have his back," Meyer said. "But he didn't."

   Putnam shot down all of Garcia's claims, including the fact that it's never OK to
   take a picture of a naked woman and it's not the job of the warden to develop
   confidential informants.

   The jury took notice of Putnam's testimony, Meyer said.


   What did you think of the prosecutors?
   Meyer said he liked Asst. U.S. Attorneys Mollie Priedeman and Andrew Paulson.

   "They were fantastic," he said. "They did a really good job."
https://www.ktvu.com/news/fci-dublin-warden-sex-abuse-trial-how-the-jury-came-to-its-guilty-verdict                    5/7
12/19/22, 6:07 PM   Case 4:21-cr-00429-YGR       Document
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   He said they were both methodical in showing how Garcia had a pattern of
   grooming women before sexually abusing them.

   And he said he especially liked their closing arguments and how they pointed out
   how ridiculous Garcia's explanations were.


   What did you think of the defense?
   Meyer said he thought defense attorney James Reilly "did a really poor job."

   He said he and the other jurors did not like how Reilly tried to paint the women as
   lying convicted felons and how he "treated them with impunity."

   Meyer said he felt Reilly also badgered the witnesses and had a general "lack of
   direction."

   He said he scribbled all sorts of comments to himself about Reilly's treatment of
   the women on the edges of the 65 pages of notes he took during trial.


   What did you think of the judge?
   Meyer said everyone liked Judge Yvonne Gonzales Rogers and how she ran her
   courtroom.

   "She was awesome," Meyer said. "I liked her demeanor and her fairness."


   How did you spend seven days with strangers since you
   couldn't talk about the case?
   Meyer said it was difficult to spend a week with people he didn't know and not be
   able to talk about the one thing that was bonding them together – the trial.

   "We were pretty quiet," he said. "It was a little awkward."

https://www.ktvu.com/news/fci-dublin-warden-sex-abuse-trial-how-the-jury-came-to-its-guilty-verdict                    6/7
12/19/22, 6:07 PM   Case 4:21-cr-00429-YGR       Document
                                       Dublin prison warden sex 135     Filed
                                                                abuse trial: How 02/02/23
                                                                                 the jury came toPage
                                                                                                 its guilty16  of 38
                                                                                                           verdict

   Once in a while, someone might ask about golf during the breaks, he said.

   Despite the jurors being strangers, though, Meyer said he was very proud of how
   they worked together and ended up coming to a unanimous decision, especially
   since there was such "heavy testimony" to consider.

   Lisa Fernandez is a reporter for KTVU. Email Lisa at lisa.fernandez@fox.com or call
   her at 510-874-0139. Or follow her on Twitter @ljfernandez



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https://www.ktvu.com/news/fci-dublin-warden-sex-abuse-trial-how-the-jury-came-to-its-guilty-verdict                           7/7
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              EXHIBIT B
       Case 4:21-cr-00429-YGR Document 135 Filed 02/02/23 Page 18 of 38




                       DECLARATION QF CUSTODIAN OF RECORDS


I, STEVE PATTERSON, declare as follows:

    1. I am the duly authorized Custodian of Records of KTVU News. I have personal
       knowledge of the matters herein and, if called upon as a witness, I could and would
       testify thereto.

   2. No copies of records are transmitted herewith because Fox Television Stations, LLC's
      station KTVU has, to the best of its knowledge, no materials responsive to the subpoena
      served upon it in connection with the case entitled USA v. Garci~ Case No. 4:21-cr-
      00429-YGR, seeking a copy of unbroadcast footage relating to interviews with jurors in
      this case.

I declare under penalty of perjury, that the foregoing is true and correct to the best of my
knowledge and belief.


Executed this SYJtay of   [frN ,2023, in Oakland, California.



                                                      Steve Patterson
Case 4:21-cr-00429-YGR Document 135 Filed 02/02/23 Page 19 of 38




               EXHIBIT C
            Case 4:21-cr-00429-YGR Document 135 Filed 02/02/23 Page 20 of 38



1    KEVIN G. LITTLE , SBN 149818
     LAW OFFICE OF KEVIN G. LITTLE
2    Post Office Box 8656
     Fresno, California 93747
3    Telephone: (559) 342-5800
     Facsimile: (559) 242-2400
4    E-Mail: kevin@kevinglittle.com

5    Attorneys for Defendant
     Ray J. Garcia
6

7

8                                  IN THE UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF CALIFORNIA
9

10

11   UNITED STATES OF AMERICA,                            CASE NO.: 4:21-CR-00429-YGR

12                                  Plaintiff,            DECLARATION OF RAY J. GARCIA
13                            v.

14   RAY J. GARCIA,
15                                 Defendant.

16

17            The undersigned, Ray J. Garcia, hereby declares as follows:

18            1.      I am the defendant in this proceeding.

19            2.      The Attached Exhibits E and F are the flat fee agreements I had with Summit Defense.

20            3.      Despite my repeated requests of my counsel, Mr. James T. Reilly, to seek discovery and

21    interview potentially favorable witnesses, he never requested any discovery from the prosecution. He

22    also did not follow-through with any witnesses who were willing to testify on my behalf and make the

23    necessary arrangements for them to come to court and testify. Indeed, Mr. Reilly did not even begin

24    having an investigator attempt to contact witness until a couple of months before trial, although the

25    deadline for disclosing witnesses was September 27, 2022.

26            4.      The only substantive documents Mr. Reilly filed on my behalf were a few in limine related

27    pleadings (DN 46, 60-62). Mr. Reilly filed no witness list, no exhibit list, and he submitted no exhibits

28    before trial.


      DECLARATION OF RAY GARCIA                           1
30
           Case 4:21-cr-00429-YGR Document 135 Filed 02/02/23 Page 21 of 38



1            5.    Mr. Reilly never met with me in his office to review the discovery provided by the

2    prosecution. He also never went over with me the information that had been extracted from my

3    electronic devices.

4            6.    My interaction with Mr. Reilly was limited to relatively brief chats before, during or after

5    court proceedings, and our conversations would take place right in the courthouse.

6            7.    Mr. Reilly never met with me to go over the details of my anticipated testimony. He

7    instead emailed me some notes early in the morning of the day I took the stand.

8            8.    Despite my telling him numerous times about the voluntary and inappropriate sexual-type

9    misconduct female inmates initiate, Mr. Reilly requested no documentation of these incidents, nor did he

10   call any witnesses who could have testified as to this matter.

11           9.    By the time I realized exactly how unprepared Mr. Reilly was, my case was already on the

12   verge of trial. Mr. Reilly typically professed to be ready to proceed and represent me well, which did

13   not turn out to be true.

14           10.   The only exhibits Mr. Reilly ultimately used at trial was a diagram provided by the

15   prosecution and a photo I brought to his attention during the trial.

16           11.   If called as a witness, I could truthfully incompetently testify to the foregoing under oath.

17           Sworn under penalty of perjury under the laws of the United States of America, this 2nd day of

18   February 2023.
                                                          _________________________________
19                                                                  Ray Garcia
20

21

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     DECLARATION OF RAY GARCIA                           2
30
Case 4:21-cr-00429-YGR Document 135 Filed 02/02/23 Page 22 of 38




                EXHIBIT D
          Case 4:21-cr-00429-YGR Document 135 Filed 02/02/23 Page 23 of 38



 1 KEVIN G. LITTLE, SBN 149818
   LAW OFFICE OF KEVIN G. LITTLE
 2 Post Office Box 8656
   Fresno, California 93 74 7
 3 Telephone: (559) 342-5800
   Facsimile: (559) 242-2400
 4 E-Mail: kevin@kevinglittle.com

 5   Attorneys for Defendant
     Ray J. Garcia
 6

 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                NORTHERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           CASE NO.: 4:21-CR-00429-YGR
12                                Plaintiff,            DECLARATION OF DANIEL FLINT
13                         v.
14 RAY J. GARCIA,
15                               Defendant.
16

17           The undersigned, Daniel Flint, hereby declares as follows:

18           1.    I am retired from the Federal Bureau of Prisons. I worked for the Bureau of Prisons for 27
19    years, starting out as a correctional officer, and eventually retiring as an Associate Warden in 2017.

20    During my career, I worked several years in a women's facility, specifically the female prison camp on

21    the campus of FCC Victorville. I worked at several BOP facilities during my career.

22           2.    I currently reside in the Phoenix, Arizona area.

23           3.    If called as a witness in Mr. Garcia's case, I could have testified that facility wardens, and
24    other members of a facility's Executive Staff are closely monitored when they move about in the

25    facility, since line staff make it their business to know when Executive Staff members are approaching

26    their work areas. It is therefore unlikely that Mr. Garcia could have gone anywhere in the FCI Dublin

27    facility without staff members being aware and, once he got to a particular housing unit, in his

28    immediate presence. There would also be an electronic security trail documenting the travel of

      DECLARATION OF DANIEL FLINT                        I
          Case 4:21-cr-00429-YGR Document 135 Filed 02/02/23 Page 24 of 38



1    Executive Staff through the facility.
                 It is well-known within the Bureau of Prisons, that female inmates, like their male
2           4.
                          · oluntary inappropriate displays of their bodies and other sexual-type
3    counterparts, engage m v
     misconduct. There can be a variety of reasons for this behavior, including attempting to manipulate staff.
4
     This practice is so widespread that it even has a nickname - gunning. It would simply be incorrect for
5
     anyone to believe that a female inmate depicted in an inappropriate manner would necessarily have been
6

7    victimized.
            5.   If called is a witness, I could have testified in detail from my many years of experience in
8
9    the Bureau of Prisons regarding voluntary, aggressive, sexual type, misconduct, engaged in by female

1o   inmates. Even if there may be photographs showing that a staff member depicted an inmate in a sexual

11   tight pose, that hardly means that the staff member somehow coerced the inmate to be in that position.

12          6.     I could have also testified that, based on my working with Mr. Garcia conducting

13   numerous training programs at facilities throughout the BOP nationwide for about 10 years, he was well

14   known for trying to recruit inmates as sources.
15          7.     In approximately late November, I was contacted by a defense investigator, Mr. Kohler,

16   who spoke with me for about 30 minutes, but there was no follow-up regarding whether or not I would

17   be needed to testify. I provided Mr. Kohler with the information outlined in the foregoing paragraphs.

18          8.     A week or so later, during Mr. Garcia's trial, I happened to be vacationing with my wife in

19   the State of California. I have no reason to believe that anyone associated with Mr. Garcia's defense

20   team knew for a fact that I was in California at the time instead of being in my home State of Arizona.

21          9.     Out of the blue, I received a phone call from Mr. Kohler asking me ifl could be in federal

22   court in Oakland at 8 AM the next day. At the time I was in Southern California, several hours away
23   from the Oakland area. While I expressed a concern about never having talked with the attorney about
24   my anticipated testimony, and not having any court-appropriate clothing with me, I nonetheless agreed
25   to travel to Oakland and testify . However, with out any explanation for the sudden change of position, I
26   was informed in a terse follow-up call a few minutes later that I would not be needed after all.
27           10.   If called as a witness, I could truthfully incompetently testify to the foregoing under oath.
28

      DECLARATION OF DANIEL FLINT                       2
         Case 4:21-cr-00429-YGR Document 135 Filed 02/02/23 Page 25 of 38




 I         Sworn under penalty of perjury under the laws of the Uni',tl,l,_ _tes of America, this 2nd day of

 2   February 2023.

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     DECLARATION OF DANIEL FLINT                     3
Case 4:21-cr-00429-YGR Document 135 Filed 02/02/23 Page 26 of 38




                EXHIBIT E
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                              Case 4:21-cr-00429-YGR Document 135 Filed 02/02/23 Page 27 of 38


                                                                                                              2570 N. 1st Street, 2nd Fl ● San Jose, CA 95131
                                                                                                                    Phone (408) 333-9622 ● Fax (510) 439-2855

                                                                                                                    Offices: San Francisco, San Jose, Oakland,
                                                                                                                         Burlingame, Redwood City, San Rafael



    Client:            Ray Garcia                                                                        Cell   (      )


    Client retains Summit Defense, PLC, (Law Firm) for representation in Client’s legal matter. By entering into this agreement, Client
    agrees to pay Law Firm a flat fee retainer. The Law Firm does not charge on an hourly basis. The fee arrangement for representation
    will be:

    FLAT FEE RETAINER PAYMENT........................................... $                             5000                            Initials > (          )
    due                                                                                            $                                    Initials > (         )

    LEGAL SERVICES TO BE PROVIDED

    Entire Case.................................................................................   $                                    Initials > (             )

    Misdemeanor .............................................................................      $                                    Initials > (             )

    Felony, through Preliminary Hearing ........................................                   $                                    Initials > (             )

    Federal Court .............................................................................    $                                    Initials > (             )

                  Please see special notes section (page 2) $ 5000
    Prefile……… .............................................................................                                             Initials > (            )

    Other……….. ............................................................................. $                                           Initials > (            )

    OUTCOME – The Law Firm shall use its best efforts for Client, who has been informed that there are no guarantees as to the ultimate
    outcome of the client’s case.                                                                         Initials > (               )

    ENTIRE CASE RETAINER – If Client wishes to pay for the entirety of the case, without the possibility of additional fees, then be certain
    that the box “Entire Case” is initialed. That means Client will not pay additional legal fees for Law Firm’s representation unless there is
    a retrial or an appeal. Other than these two exceptions, Client has paid in total for the case, excluding costs. If the case is settled and/or
    resolved, the Law Firm has earned the retainer fee.                                                            Initials > (                 )

    SETTLED CASE – The Law Firm is under a duty to use its best efforts to resolve Client’s case. Client acknowledges that Client has
    been informed that if the Law Firm can resolve Client’s case, then the Law Firm has earned the entire retainer fee. Even if the case is
    settled, dismissed, not filed or for any reason resolved prior to trial, nonetheless the Law Firm has earned the entire flat fee retainer.
    Likewise, if the case takes more time than the Law Firm originally estimated, Client will not be charged additional fees.
                                                                                                                 Initials > (                )
    PORTIONS OF TOTAL CASE – In order to keep the legal fees as low as possible, Client has asked the Law Firm to provide legal
    services on the case in stages. The retainer fee does not cover the entire case. It covers only that portion of the case as stated. The Law
    Firm’s representation in this portion of Client’s case may resolve the case. It is also possible that Client’s Firm is not bound to represent
    Client beyond the point in the case for which Client has paid. If Client fails to pay the Law Firm the additional fees required for the next
    stage of the case, then Client agrees that the Law Firm will not be required to further represent Client.
                                                                                                                      Initials > (              )

    OTHER ATTORNEYS – Client expressly agrees that he or she is retaining the Firm and not any particular attorney. At no additional
    cost to Client the Law Firm may have more than one Attorney work on Client’s case and assign attorneys as lead attorneys in client’s
    case.
                                                                                                           Initials > (                 )

                                                                                               Page 1 of 2
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                      Case 4:21-cr-00429-YGR Document 135 Filed 02/02/23 Page 28 of 38




    RETRIAL OR HUNG JURY – This agreement does not include retrials. If Client’s case results in a hung jury, mistrial or other
    decision wherein the case must be retried, the Law Firm will require an additional retainer fee. In most instances, this fee is not as much
    as the first fee because the Law Firm has already prepared Client’s case.
                                                                                                                  Initials > (                 )

    APPEAL – This retainer does not include appeals, writs or other appellate work.
                                                                                                                    Initials > (               )

   ADVISEMENT UNDER STATE BAR RULE 1.15 – Please be advised that funds received or held by a lawyer or law firm for
  the benefit of a client, including advances for fees, costs and expenses, shall be deposited in one or more identifiable bank accounts
  labeled “Trust Account” or words of similar import, maintained in the State of California, or, with written consent of the client, in any
  other jurisdiction where there is a substantial relationship between the client or the client’s business and the other jurisdiction.
  Client has been advised that fees paid for services will be deposited into Firm’s operating account. Client acknowledges his or her right to
  require that flat fee funds be deposited into client trust account until portions of the fee are earned. Notwithstanding this paragraph, client
  is advised that any unearned fees will be refunded to client. Firm will place any payment meant to cover costs incurred into client’s trust
  account. Where the flat fee exceeds $1,000, the California Rules of Professional Conduct requires that client’s agreement to deposit fees
  in Firm’s operating account is set forth in writing and signed by client.

                                                                                                                   Initials > (               )
    COSTS – The legal fees agreed to above are Attorney’s fees only. They are not for the payment of any costs or expenses necessary in
    Client’s case. Costs can include, but are not limited to: investigators, expert witnesses, evidence analysis, physical exhibits,
    presentation materials and other expenses related to preparation for trial. Client agrees that all costs will be paid by Client, not by the
    Law Firm.                                                                                                      Initials > (               )

    Special Notes Pertaining to Client’s Legal Matter:

      Firm to utilize best efforts to prevent filing of criminal charges.
                                                                       ____________________________________________________
                                                                                                      Initials > (          )
  Please read this agreement carefully. It is important that our agreement be totally complete and that Client understands everything before
  signing. If Client has any questions regarding this agreement, now is the time to ask. When Client signs this agreement, it will be
  concluded that Client completely understands it.

  Client is advised that if the fee is paid by someone other than Client, there is a potential conflict of interest. However, such payment by
  a third party will not interfere with the independence of the Law Firm’s professional judgment and it will not affect the
  confidentiality of communications from the Client to the Law Firm. By Client’s signature below, Client agrees to allow the Law Firm to
  represent Client with the fee being paid by a third party.

  Although any information that Client has shared with the Law Firm will remain confidential, the Attorney-Client relationship will not
  begin until an Attorney on behalf of the Law Firm indicates acceptance of Client’s case by a signature below.

                                                         ACCEPTED AND AGREED
    SUMMIT DEFENSE, PLC                                                                      Ray Garcia
                                                                                            Client’s Printed Name
                                                                                                                                   9/27/2021
                                                                    x
                                                                                            Client’s Signature                         Date

    By:                                              9/27/2021      By:
                                                        Date                              (If other than Client)                       Date




                                                                   Page 2 of 2
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               EXHIBIT F
DocuSign Envelope ID: 25DDF5B2-E993-4D67-A0C2-E18A1252B65A
                              Case 4:21-cr-00429-YGR Document 135 Filed 02/02/23 Page 30 of 38


                                                                                                              2570 N. 1st Street, 2nd Fl ● San Jose, CA 95131
                                                                                                                    Phone (408) 333-9622 ● Fax (510) 439-2855

                                                                                                                    Offices: San Francisco, San Jose, Oakland,
                                                                                                                         Burlingame, Redwood City, San Rafael



    Client:                Ray Garcia                                                                   Cell    (      )


    Client retains Summit Defense, PLC, (Law Firm) for representation in Client’s legal matter. By entering into this agreement, Client
    agrees to pay Law Firm a flat fee retainer. The Law Firm does not charge on an hourly basis. The fee arrangement for representation
    will be:

    FLAT FEE RETAINER PAYMENT........................................... $                                                             Initials > (          )
    due see payment schedule for details for 10/25/2022                                            $ 30,000                             Initials > (         )
           by November 28th, 2022                                                                  $ 30,000
    LEGAL SERVICES TO BE PROVIDED

    Entire Case.................................................................................   $                                    Initials > (             )

    Misdemeanor .............................................................................      $                                    Initials > (             )

    Felony, through Preliminary Hearing ........................................                   $                                    Initials > (             )

    Federal Court .............................................................................    $                                    Initials > (             )

    Prefile……… ............................................................................. $                                           Initials > (            )

                trial
    Other……….. ............................................................................. $         60,000                            Initials > (            )

    OUTCOME – The Law Firm shall use its best efforts for Client, who has been informed that there are no guarantees as to the ultimate
    outcome of the client’s case.                                                                         Initials > (               )

    ENTIRE CASE RETAINER – If Client wishes to pay for the entirety of the case, without the possibility of additional fees, then be certain
    that the box “Entire Case” is initialed. That means Client will not pay additional legal fees for Law Firm’s representation unless there is
    a retrial or an appeal. Other than these two exceptions, Client has paid in total for the case, excluding costs. If the case is settled and/or
    resolved, the Law Firm has earned the retainer fee.                                                            Initials > (                 )

    SETTLED CASE – The Law Firm is under a duty to use its best efforts to resolve Client’s case. Client acknowledges that Client has
    been informed that if the Law Firm can resolve Client’s case, then the Law Firm has earned the entire retainer fee. Even if the case is
    settled, dismissed, not filed or for any reason resolved prior to trial, nonetheless the Law Firm has earned the entire flat fee retainer.
    Likewise, if the case takes more time than the Law Firm originally estimated, Client will not be charged additional fees.
                                                                                                                 Initials > (                )
    PORTIONS OF TOTAL CASE – In order to keep the legal fees as low as possible, Client has asked the Law Firm to provide legal
    services on the case in stages. The retainer fee does not cover the entire case. It covers only that portion of the case as stated. The Law
    Firm’s representation in this portion of Client’s case may resolve the case. It is also possible that Client’s Firm is not bound to represent
    Client beyond the point in the case for which Client has paid. If Client fails to pay the Law Firm the additional fees required for the next
    stage of the case, then Client agrees that the Law Firm will not be required to further represent Client.
                                                                                                                      Initials > (              )

    OTHER ATTORNEYS – Client expressly agrees that he or she is retaining the Firm and not any particular attorney. At no additional
    cost to Client the Law Firm may have more than one Attorney work on Client’s case and assign attorneys as lead attorneys in client’s
    case.
                                                                                                           Initials > (                 )

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    RETRIAL OR HUNG JURY – This agreement does not include retrials. If Client’s case results in a hung jury, mistrial or other
    decision wherein the case must be retried, the Law Firm will require an additional retainer fee. In most instances, this fee is not as much
    as the first fee because the Law Firm has already prepared Client’s case.
                                                                                                                  Initials > (                 )

    APPEAL – This retainer does not include appeals, writs or other appellate work.
                                                                                                                    Initials > (                )

    ADVISEMENT UNDER STATE BAR RULE 1.15 – Please be advised that funds received or held by a lawyer or law firm for
   the benefit of a client, including advances for fees, costs and expenses, shall be deposited in one or more identifiable bank accounts
   labeled “Trust Account” or words of similar import, maintained in the State of California, or, with written consent of the client, in any
   other jurisdiction where there is a substantial relationship between the client or the client’s business and the other jurisdiction.
   Client has been advised that fees paid for services will be deposited into Firm’s operating account. Client acknowledges his or her right to
   require that flat fee funds be deposited into client trust account until portions of the fee are earned. Notwithstanding this paragraph, client
   is advised that any unearned fees will be refunded to client. Firm will place any payment meant to cover costs incurred into client’s trust
   account. Where the flat fee exceeds $1,000, the California Rules of Professional Conduct requires that client’s agreement to deposit fees
   in Firm’s operating account is set forth in writing and signed by client.

                                                                                                                   Initials > (               )
    COSTS – The legal fees agreed to above are Attorney’s fees only. They are not for the payment of any costs or expenses necessary in
    Client’s case. Costs can include, but are not limited to: investigators, expert witnesses, evidence analysis, physical exhibits,
    presentation materials and other expenses related to preparation for trial. Client agrees that all costs will be paid by Client, not by the
    Law Firm.                                                                                                      Initials > (               )

    Special Notes Pertaining to Client’s Legal Matter:

                                                                            ____________________________________________________
                                                                                                           Initials > (          )
   Please read this agreement carefully. It is important that our agreement be totally complete and that Client understands everything before
   signing. If Client has any questions regarding this agreement, now is the time to ask. When Client signs this agreement, it will be
   concluded that Client completely understands it.

   Client is advised that if the fee is paid by someone other than Client, there is a potential conflict of interest. However, such payment by
   a third party will not interfere with the independence of the Law Firm’s professional judgment and it will not affect the
   confidentiality of communications from the Client to the Law Firm. By Client’s signature below, Client agrees to allow the Law Firm to
   represent Client with the fee being paid by a third party.

   Although any information that Client has shared with the Law Firm will remain confidential, the Attorney-Client relationship will not
   begin until an Attorney on behalf of the Law Firm indicates acceptance of Client’s case by a signature below.

                                                          ACCEPTED AND AGREED
    SUMMIT DEFENSE, PLC                                                                      Ray Garcia
                                                                                            Client’s Printed Name
                                                                                                                               10/25/2022
                                                                     x
                                                                                            Client’s Signature                        Date

    By:                                              10/25/2022 By:
                                                         Date                              (If other than Client)                     Date




                                                                    Page 2 of 2
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               EXHIBIT G
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              THE WITNESS: Sorry, Your Honor.

              THE COURT: Try again.
1026:9-11     Q. So maybe November or thereabouts of 2020?

              THE COURT: Again, I need to hear it from him. An
              open-ended question, Mr. Reilly.
1081:15-21    MS. PRIEDEMAN: Ms. Slattery, can you please zoom
              in on Mr. Garcia's reflection in the window.

              Q. You don't look surprised in this picture, do you?

              MR. REILLY: Objection. Argumentive. Also calls for
              conclusion.

              THE COURT: I don't know that you can answer it, but
              you can try if you can. You can try if you can.
1100:1-9      Q. So this incident report, that would have been the
              first incident report you had ever written. It also
              would have been the first incident report that Melissa
              ever would have received; right?

              MR. REILLY: Objection, Your Honor. Assumes facts not
              in evidence and misstates the witness' testimony.

              THE COURT: Well, it's compound. I don't know that I
              agree with the other.
              Rephrase.
1106:9-13     Q. You're not answering my question.

              A. I am answering your question.

              THE COURT: Answer the question. Say it again.

              THE WITNESS: Rephrase your question or ask again,
              please.
1110:16-25    Q. You didn't think it was appropriate to name
1111:1-2      Melissa at that point?

              A. He asked a general question. I gave a general
              answer. He did not ask a specific question and did not
              seek a specific answer. He said, "Do you have anyone


                                                                       4
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#   MERGED            JUDGES COMMENTS
    PAGE:LINE-LINES
    880:18-881:1      THE COURT: Okay. Any motions?

                      MR. REILLY: No, Your Honor.

                      THE COURT: All right. Does the defense have a case?

                      MR. REILLY: We do intend to call Mr. Garcia.

                      THE COURT: All right.

                      MR. REILLY: Given the hour –

                      THE COURT: Let's get going. I'm not wasting time.

                      MR. REILLY: I'm sorry?

                      THE COURT: On the stand.
    881:9-12          THE COURT: All right, Mr. Garcia, take off that mask
                      so the parties -- or the jury can see your face. Good
                      afternoon. And go ahead and state your name for the
                      record and
                      spell it.
    889:5             THE COURT: Slow down, Mr. Garcia.
    890:17            THE COURT: Again, Mr. Garcia, slow down.
    894:2-9           Q. And how many such evaluations were done during
                      that time?

                      MS. PRIEDEMAN: Objection, Your Honor. Relevance.

                      THE COURT: What's the relevance?

                      MR. REILLY: Just providing background information
                      about Mr. Garcia, Your Honor.

                      THE COURT: I'll allow this question, but let's move
                      on.
                      You can answer that one.
    895:5-10          MS. PRIEDEMAN: Objection, Your Honor. Relevance.

                      THE COURT: He has already said no. But, again, none
                      of this is directly relevant, Mr. Reilly; right?


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              MR. REILLY: Just to provide his background
              information, Your Honor.

              THE COURT: Again, I asked you to move on.
898:8-9       THE COURT: Mr. Reilly, this isn't cross. You need to
              ask open-ended questions.
899:19-21     THE COURT: Mr. Reilly, we need to hear it from him.
              I know you've got a plan in place, but I want the
              words from
              him, not you.
902:22-25     Q. All right. And while you were the associate
903:1-6       warden, I take it you would not have been involved
              in, say, review of a possible early release or transfer
              to another facility?

              MS. PRIEDEMAN: Objection, Your Honor. Leading.

              THE COURT: Sustained. Sustained.

              MR. REILLY: I'm not suggesting the answer, Your
              Honor. It's a yes-or-no question.

              THE COURT: You are giving him plenty of information
              in your question. You can ask him what he does, you
              can ask him his responsibilities, and we can hear from
              him.
906:16-22     Q. And that requires her to go through the unit team
              first and then it gets passed up the line ultimately to
              you?

              A. Absolutely.

              MS. PRIEDEMAN: Objection, Your Honor. Leading.

              THE COURT: All right. That one is going to go. We
              are going to finish up today, and we will talk about
              this again more. Try to keep them open-ended. Let's
              go.
919:11-20     THE COURT: All right.
              What do we -- we're in great shape, I think, in terms
              of having the trial finished in the length of time
              provided for by the jurors. I am concerned about
              what I told you this morning and, you know, what my


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              status is going to look like, so I will take all necessary
              precautions. But what are we looking at in terms of
              any other witnesses from the Defense? Any rebuttal
              case before we get to argument?

              MR. REILLY: Your Honor, at this point, I don't
              anticipate offering any other witnesses.
921:3-12      THE COURT: Good morning, everyone. We are back
              on the record. Everyone can be seated. The record
              will reflect that the parties are present. The jury is
              back. Bright sunny day today because it's Friday? Yay
              for Fridays. All right. Any questions before we get
              started? No? All right. Then we still have Mr. Garcia
              on the stand. Mr. Garcia, I will remind you, sir, you
              are still under oath. And as I mentioned to you
              yesterday, I do not want to interrupt your testimony,
              but you do have to slow down.
972:22-25     Q. I'm going to point to part of it.

              THE COURT: So you should not be directing, again,
              the testimony. These are interactive. He can touch
              that screen in response to your questions.
973:7-15      THE COURT: And, Mr. Reilly, if you want to, after he
              identifies it, put something on the document, you
              can. You can also magnify it by using the toggle
              switch on the top of that -- no. At the very top –

              THE CLERK: I can zoom it in.

              THE COURT: Okay. So let's get that erased.

              MR. REILLY: If you can –

              THE COURT: Hold on. Erase the screen. All right. Now,
              start again.
980:25        A. I took them, or they were texted to me.
981:1-3
              THE COURT: Or what?

              THE WITNESS: I either took the pictures myself, or
              they were texted by the other person to me.
1006:2-5      THE COURT: You are going so fast, I could not
              understand you.


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              THE WITNESS: Sorry, Your Honor.

              THE COURT: Try again.
1026:9-11     Q. So maybe November or thereabouts of 2020?

              THE COURT: Again, I need to hear it from him. An
              open-ended question, Mr. Reilly.
1081:15-21    MS. PRIEDEMAN: Ms. Slattery, can you please zoom
              in on Mr. Garcia's reflection in the window.

              Q. You don't look surprised in this picture, do you?

              MR. REILLY: Objection. Argumentive. Also calls for
              conclusion.

              THE COURT: I don't know that you can answer it, but
              you can try if you can. You can try if you can.
1100:1-9      Q. So this incident report, that would have been the
              first incident report you had ever written. It also
              would have been the first incident report that Melissa
              ever would have received; right?

              MR. REILLY: Objection, Your Honor. Assumes facts not
              in evidence and misstates the witness' testimony.

              THE COURT: Well, it's compound. I don't know that I
              agree with the other.
              Rephrase.
1106:9-13     Q. You're not answering my question.

              A. I am answering your question.

              THE COURT: Answer the question. Say it again.

              THE WITNESS: Rephrase your question or ask again,
              please.
1110:16-25    Q. You didn't think it was appropriate to name
1111:1-2      Melissa at that point?

              A. He asked a general question. I gave a general
              answer. He did not ask a specific question and did not
              seek a specific answer. He said, "Do you have anyone


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              in mind generally." There are 1,200 inmates at that
              institution, and several were under investigation for
              inappropriate acts. We had just finished an
              investigation on the previous inmate that testified
              here for compromising an officer.

              MS. PRIEDEMAN: Objection, Your Honor.

              THE COURT: That's enough.

              Keep going. Next question.




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